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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL                              JS-6
 Case No.       CV 20-2853 PSG (Ex)                                          Date   May 6, 2020
 Title          Rui Almeida et al v. FCA US LLC, et al.




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           The Court GRANTS the motion to remand

        On February 19, 2020, Plaintiffs Rui Almeida and Melanie Almeida (“Plaintiffs”)
initiated this action in Los Angeles County Superior Court, alleging breach of implied and
express warranty, among other things. See Complaint, Dkt. # 1-2, Ex. A (“Compl.”). On March
26, 2020, the action was removed to this Court on the basis of diversity of citizenship. See
Notice of Removal, Dkt. # 1 (“NOR”). Plaintiffs now move to remand the action arguing, among
other things, that the amount in controversy requirement is not met and that Defendant Fremont
is not a “sham” defendant destroying complete diversity of citizenship. See Dkt. # 13 (“Mot.”).
Defendants FCA US, LLC and DGDG 13, LLC d/b/a Fremont Chrysler Dodge Jeep Ram
(“Defendants”) filed a notice of non-opposition to Plaintiff’s motion to remand. See Dkt. # 14.
Accordingly, the Court GRANTS the motion to remand and REMANDS the action to Los
Angeles County Superior Court.

         IT IS SO ORDERED.




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